     Case 2:85-cv-04544-DMG-AGR Document 1289 Filed 10/06/22 Page 1 of 4 Page ID
                                     #:47945


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15   Attorneys for Defendants
16
                       UNITED STATES DISTRICT COURT
17                FOR THE CENTRAL DISTRICT OF CALIFORNIA
18   JENNY LISETTE FLORES; et al.,           ) Case No. CV 85-4544
19                                           )
             Plaintiffs,                     ) STIPULATION TO EXTEND
20                                           ) HEARING DATE REGARDING
21
                  v.                         ) PLAINTIFFS’ EAJA MOTION, ECF
                                             ) NO. 1282
22   MERRICK GARLAND, Attorney               )
23
     General of the United States; et al.,   ) Hearing: November 11, 2022
                                             ) Time: 9:30 a.m.
24           Defendants.                     ) Hon. Dolly M. Gee
25
                                             ) [Proposed] Order Filed Concurrently
                                             )
26
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1          Pursuant to Local Civil Rule 7-1, the parties submit this stipulation to extend
2    the current briefing and hearing schedule set for consideration on Plaintiffs’ Motion
3    for Award of Attorneys’ Fees and Costs in the above-captioned case under the Equal
4    Access to Justice Act, 28 U.S.C. § 2412(d) (“EAJA”). ECF No. 1282.
5          This is the parties first stipulation to extend the briefing and hearing schedule.
6    This request is not to cause any delay, but rather to ensure proper adjudication of the
7    matter and to conserve the Court’s resources adequately and efficiently.
8          WHEREAS, Plaintiffs filed the EAJA Motion on August 29, 2022. See id.
9          WHEREAS, Defendants’ Opposition Brief to Plaintiffs’ EAJA Motion is
10   currently due on October 21, 2022. See L.R. 7-9.
11         WHEREAS, a hearing is currently scheduled for November 11, 2022, at 9:30
12   a.m. on Plaintiffs’ EAJA Motion. ECF No. 1282.
13         WHEREAS, pursuant to the Settlement of Plaintiffs’ Motion to Enforce
14   Settlement Re Emergency Intake Sites, ECF No. 1256-1, and the Court’s subsequent
15   final approval thereof, ECF No. 1288, the “Parties agree[d] to meet and confer in a
16   good faith effort to settle such fees and costs[.]”
17         WHEREAS, Defendants require additional time to present a settlement
18   proposal to Plaintiffs subject to the necessary approval processes.
19         THEREFORE, the parties seek a three-week extension of the hearing date to
20   December 2, 2022. In doing so, Defendants’ Opposition Brief will be due on
21   November 11, 2022.
22         In the event that the parties decide to proceed with settlement negotiations,

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     the parties agree and propose that the parties will file a Stipulation to hold the

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     pending Plaintiffs’ EAJA Motion in abeyance while the parties continue to mediate.

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           For the foregoing reasons, the parties respectfully request that this Court grant

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     the parties’ stipulated request.

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1    DATED:       October 6, 2022           Respectfully submitted,
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3
     CENTER FOR HUMAN RIGHTS                BRIAN M. BOYNTON
     AND CONSTITUTIONAL LAW                 Principal Deputy Assistant Attorney General
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12   /s/ Mishan Wroe                        Office of Immigration Litigation
     Mishan Wroe
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     One of the Attorneys for Plaintiffs    /s/ Fizza Batool
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                                            Attorneys for Defendants
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22                          Attestation of Authorization to File
23   All other signatories listed, and on whose behalf the filing is submitted, concur in
24
     the filing’s content and have authorized the filing.

25
                                                   /s/ Fizza Batool
26                                                 FIZZA BATOOL
                                                   Trial Attorney
                                               2
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                                     #:47948


1                             CERTIFICATE OF SERVICE
2
           I hereby certify that on October 6, 2022, I served the foregoing
3

4
     STIPULATION         TO     EXTEND       HEARING        DATE      REGARDING

5    PLAINTIFFS’ EAJA MOTION, ECF NO. 1282, on all counsel of record by
6    means of the District Clerk’s CM/ECF electronic filing system.
7

8
                                                /s/ Fizza Batool
9                                               FIZZA BATOOL
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                                                U.S. Department of Justice
                                                District Court Section
11                                              Office of Immigration Litigation
12
                                                Attorney for Defendants
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